     Case 2:23-cv-01756-EJY          Document 24          Filed 11/14/24   Page 1 of 1




 1                                 UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                 ***
 4    DEONTA JAMAL JONES                                          Case No. 2:23-CV-01756-EJY
 5                    Plaintiff,                                           ORDER
 6          v.
 7    COMMISSIONER OF SOCIAL SECURITY,
 8                    Defendant.
 9

10           Pending before the Court is the Stipulated Motion to Correct Order Pursuant to Fed. R. Civ.
11   P. 60(a). ECF No. 23. The parties point out the Court’s Order mistakenly indicates that Plaintiff’s
12   motion for attorney’s fees was granted under 42 U.S.C. § 406(b). ECF No. 22 at 1–2. Their Motion
13   was for EAJA fees under 28 U.S.C. § 2412. The parties are correct and the prior order is corrected.
14           IT IS HEREBY ORDERED that Stipulated Motion (ECF No. 23) is GRANTED.
15           IT IS FURTHER ORDERED thar the Court corrects its Order entered on November 12,
16   2024 (ECF No. 22) to state the following:
17           IT IS HEREBY ORDERED that the Settled Motion for Attorney’s Fees Pursuant to 28
18   U.S.C. § 2412 (ECF No. 21) is GRANTED. A fee award in the amount of $7,868.03 for work
19   before the Court is to be paid to Olinsky Law Group, 250 South Clinton St. Suite 210, Syracuse,
20   NY 13202.
21           IT IS FURTHER ORDERED that If Plaintiff owes a debt that qualifies under the Treasury
22   Offset Program (31 U.S.C. § 3716), any payment must be made payable to Plaintiff and delivered
23   to Plaintiff’s counsel.
24           Dated this 14th day of November, 2024.
25

26                                                ELAYNA J. YOUCHAH
                                                  UNITED STATES MAGISTRATE JUDGE
27

28
                                                      1
